       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 1 of 19


                                                             NI INAL
                                                                  1.ri


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA'LkD
                                                   J 1;
                       ATLANTA DIVISION             •8•
                                                      w
S GREGORY HAYS, Receiver for ~                       ' . +
Mobile Billboards of Amenca . Inc ., et     LUTK T ,' "`''
al .            By`                         perk        P ~Y

                Plaintiff,
                                     C IL CTI N NO            a                  ~t
                                                         2               B Rr-        }

DAVID E . ADAM, JACKIE ADAMS,
AF, INC . ALTERNATIVE
FINANCIAL CONCEPTS . LLC,
ARTHUR ANDERSON, ARTHUR
A NDERSON RETIREMENT
PLANNING INC . . DANNY BAXLEY,
MARSHA BAXLEY, BELLANOVA
ENTERPRISES, LLC, MILLARD
KEVIN BLACKBURN, MIKE
BLOCK . ROBERT BODACK . MATT
BONDURANT, DANIEL BOOKOUT,
DARYL BORNSTEIN, JANALY N
BORNSTEIN, STEPHEN WAYNE
BRADSHAW, TIMOTHY L .
BRADSHAW, J . WENDELL
BRIGANCE, JACK BROWN . JEFF
BROWN, RANDY CHATAGNIER .
CLR GROUP. AARON F . COOPER,
DANIEL S . DARK, MARY DEAN,
DENNIS DEGOOD, CRAIGE
DEMOBS, TIMOTHY S . DEMPSEY,
JAMES P DILUIGI, EAGLE
FINANCIAL SERVICES . ESTATE
PRESERVATION SERVICES,
ROBERT C FRANK, FRANKLIN
ASSET EXCHANGE, LLC .
FREEDOM CAPITAL, LLC .
MICHAEL GAUNTT, JI M GIB BON,
        Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 2 of 19




KEITH GIBBON, STEVE GILLEY,
GILLEY & ASSOCIATES, STEVE
GILLEY & ASSOCIATES, LLC,
VICTOR GRAHAM, GARY G GRIM,
DONNA HAYNES, DAVID R HEAD .
BENNY HOLLAND, SCOTT
HOLLENBECK. PAUL W HOPKINS .
MICHAEL HOVANIC, JAMES
H U TTON, INFINITE RESOURCES,
WILLIAM ERIC ISPHORDING, J K .
GIBBON & ASSOCIATES, INC,
CARL E JENKINS, WALTER JONES,
JERRY G . KETRON, MIKE KEYS .
FRED J KING, RUSSELL A .
KUCHERA . BARRIE M LANCE,
MICHAEL R . LAWSON. LEVONDA
LEAMON, LEGACY ESTATE
CONCEPTS, INC ., WILLIAM LISBY .
STANLEY LOTT, JAMES E . LUSH .
SANDRA K . LUSH, CLARENCE J
LYON, II, ANTHONY MACKENZIE,
EUGENE MAESTAS, ROBERT M .
MANARDO, HAL MAYER, LARRY
MAYES, JAMES MEYER, PETER J
MILLER. JEFF MITCHELL, BILL
NAUMANN, NEMO TRUST .
NETWORK INSURANCE &
ASSOCIATES, ROGER PARKS,
SCOTT PECKHAM, JAN PETERSEN .
REBECCA PLUMMER . JERRY W .
POSS . PAUL R PRiESS, PETE
PURCELL, ELISABETH RAINEY,
JAMES RAINEY, ROBERT
RAWSON . DENNIS RAYNOR,
BRUCE F. RUARK, LORI SALTER,
SCO'l"TIE SALTER, LAWRENCE R
SAMPSON . ANGELO T SANTOS,
JAMES SEIFRID, SENIOR
FINANCIAL NETWORK. BRYAN
SHEPLEY, DALE SILVERS . JULIA

1501494 3
                                     - 2-
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 3 of 19




BEATER, JEROME D. SPITZER.
JACOB STOCKHAM, TIMOTHY P .
STOHS . STRANT, INC ., JUDITH
SULLIVAN, BENJAMIN E .
SUMNER, INC ., JOEL TEAGUE .
HUGH THACKER, RAYMOND
VIGIL, GARY P . WALKER . RONNIE
C WARD. SHELVA J . WARD, STAN
WARM, CRAIG WARNER,
MICHAEL A . WELLS, TOMMY
WHITE, KENNETH D . VVHITT,
JENNIFER WISE, DAVID R
WOMACK, LEO YIRKA, DAVID M .
ALVARADO, CONNIE W . BUNGE,
ROBERT A . CARRILLO, JAY
CASTRO, KEN CHIN, PETER B .
DAENZER, JESSE FIEDOR . JACK
FRANK, BERNARD G . GROSS,
THOMAS C HEARD, LINDA L
HOLLOWAY . LAURA A . JONES,
LISA G LERNER, IGNACIO D .
MALDO?V'AD4, FRED C . MARSH,
JAMES MEAD, DENNIS A
MEHRINGER, K . DAVID
METCALFE, JEFFREY MITCHELL,
W MICHAEL PENCE, WILLIAM J
ROBERTS, SUKHDEV SINGH,
JENNIFER WISE

                   Defendants .


     COMPLAINT FOR DISGORGEMENT OF ILL-GOTTEN GAINS

      S . Gregory Hays ("Receiver"), the court-appointed Receiver for Mobile

Billboards of Amenca, Inc . ; International Payphone Corporation, Tiger Media,

Inc .; Reserve Guaranty Trust ; California Mobile Billboards, Inc,and, Western


15014943
                                       - I-
        Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 4 of 19




Reserve Guaranty Trust (collectivel}', the "Receiver Entities"), files this Complaint

against each of the following Defendants David E Adam, Jackie Adams, AF . Inc ,

Alternative Financial Concepts, LLC, Arthur Anderson . Arthur Anderson

Retirement Planning Inc ., Danny Bailey, Marsha Bailey, Bellanova Enterprises .

LLC, Mallard Kevin Blackburn . Mike Block . Robert Bodack, Matt Bondurant,

Daniel Bookout . Daryl Bornstein . Janalyn Bornstein, Stephen Wayne Bradshaw,

Timothy L Brad sha«•, J. Wendell Brigance, Jack Bro wn, Jeff Brown, Randy

Chatagmer. CLR Group, Aaron F . Cooper . Daniel S Dark . Mary Dean, Dennis

Degood, Crane Demoss . Timothy S . Dempsey. James P Dilujgi, Eagle Financial

Services, Estate Preservation Services, Robert C . Frank, Franklin Asset Exchange,

LLC, Freedom Capital, LLC. Michael Gaunt, Jim Gibson . Keith Gibson, Steve

Galley, Gilley & Associates, Steve Galley & Associates, LLC, Victor Graham .

Gary G . Grim, Donna Haynes, David R . Head, Benny Holland, Scott Hollenbeck,

Paul W Hopkins, Michael Hovanic, James Hutton . Infinite Resources, William

Eric Isphording, J .K. Gibson & Associates, Inc . Carl E Jenkins, Walter Jones,

Jerry G Ketron, Mike Keys . Fred J . King, Russell A Kuchera. Barrie M . Lange,

Michael R . Lawson, Levonda Leamon, Legacy Estate Concepts . Inc ., William

Lisby, Stanley Lott, James E Lush, Sandra K. Lush . Clarence J . Lyon, II, Anthony

Mackenzie, Eugene Maestas, Robert M Manardo . Hal Mayer. Larry Mayes, James

Meyer . Peter J Miller, Jeff Mitchell . Bill Naumann . Nemo Trust, Network


15014943
                                         -4 -
        Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 5 of 19




Insurance & Associates, Roger Parks, Scott Peckham . Ian Petersen, Rebecca

Plummer, Jerry W . Poss, Paul R . Pness, Pete Purcell, Elisabeth Rainey . James

Rainey, Robert Rawson, Dennis Raynor . Bru ce F Ruark, Lori Salter . Scottie

Salter, Lawrence R Sampson . An~elo T . Santos, James Seifrid, Senior Financial

Network, Bryan Shepley . Dale Silvers, Julia Slater . Jerome D . Spitzer, Jacob

Stockham, Timothy P. Stohs, Strant, Inc . Judith Sullivan, Benjamin E Surnner,

Inc,Joel T'eague, Hugh Thacker, Raymond Vigil, Gary P Walker, Ronnie C

Ward. Shelva 1 . Ward. Stan Warm, Craig Warner . Michael A . Wells, Tommy

White, Kenneth D . Whitt, Jennifer Wise, David R Womack, Leo Yirka, David M .

Alvarado. Connie W . Bunge, Robert A Carrillo, Jay Castio, Ken Chin, Peter B

Daenzer, Jesse Fiedor. Jack Frank, Bernard G Gross, Thomas C Heard . Linda L

Holloway, Laura A Jones, Lisa G Lerner . Ignacio D . Maldonado . Fred C Marsh,

James Mead . Dennis A . Mehringer . K. David Metcalfe, Jeffrey Mitchell . W

Michael Pence, William J . Roberts, Sukhdev Stngh, Jennifer Wise In support of

his Complaint, the Receiver shows this Court the followingC

                            Background and Overview

                                          1

      This action is the result of a fraudulent investment offering involvinc, the

sale of mobile billboard investments targeting ietirees and seniors Between 2001

and 2004, more than S60 million in bolus investments were sold to unsuspecting


15014943
                                         - 5 -
        Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 6 of 19




investors, many of whom invested most or all of their retirement funds into this

venture, which was represented to them to be safe and secure .

                                          2

       The bogus billboard investments were sold through a network of

independent sales agents, who, as a general rule, were members of organizations

put together by "master sales agents ." The sales commission paid on each sale

totalled approximately 27 % , which was typically paid to the master sales agent,

who, in turn, made commission payments to the individuals in its sales

organization entitled to receive a portion of the commission for a specific sale .

The commission amount, which is extremely high when compared to legitimate

investment offerings, was not disclosed to the investors in the sales process

                                           3.

       In addition to commission payments, agents were also offered bonuses for

reaching certain sales objectives . Typically, these bonuses were paid directly to

the individual sales agent

                                          4

       Each of the Defendants is a sales agent or L-aency that received commissions

and/or bonus payments as a result of the sale of fraudulent mobile billboard

in ves tments.




15014943
                                          -6 -
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 7 of 19




                                          5

      The investments sold by the Defendants were securities and, for a variety of

reasons, the sales were made in violation of federal securities laws . Among other

things . the Defendants were selling unregistered securities, and the agencies and

agents, themselves, were not registered as securities dealers and brokers

Moreover, the Defendants were selling investments and being paid commissions

that were premised on a fraudulent scheme

                                          6.

      Without the active solicitation of investors and subsequent sales made by

these Defendants, the Ponzi scheme, which defrauded investors out of over $60

million, would not have occurred .

                                          7.

      The cumulative amount of commissions paid to these Defendants exceeds

$19 mullion .

                                          8.

      On September 21 . 2004 . the United States Securities and Exchange

Commission ("SEC") filed an enforcement action in this Court styled SEC i•

Mobile Billboards, et. al, Civil Action No I 04-CV- 2763- WBH ("SEC

Litigation") On that same date, this Court entered an order ("Receivership

Order") appointing the Receiver as receiver for Mobile Billboards of America,


15014943
                                         -7-
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 8 of 19




Inc , International Payphone Corporation (alkla Outdoor Media Industries) and

Reserve Guaranty Trust . In orders entered on or about October 18, 2004 and

February 7, 2005, this Court expanded the receivership to include additional

affiliated entities, Tier Media, Inc ., California Mobile Billboards, Inc . and

Western Reserve Guaranty Trust, which are all subject to the terms and provisions

of the Receivership Order .

                                            9.

      The Receiver has filed this action seeking the recovery of the commissions

paid to each of the Defendants .

                          JU RISDICTION AN D VENUE

                                           10

      This action is ancillary to the receivership Accordingly, this Court has

jurisdiction over the parties and the subject matter of this action In re Alpha

Telcom, Inc ., et al ., No CV 01-1283-PA, 2004 U S Dist . LEXIS 20002 (D Or

August 18, 2004) ; uzllin v . Grand Street Trust et al . No. 3 .04 CV 251, 2005

WL 1983879 (W .D.N.C August 12, 2005) .

                                           11 .

      In addition, this action arises from and is directly related to the SEC

Litigation, which provides for nationwide service of process under federal

securities laws . 15 U S .C . § 77v(a ) , 15 U .S .C § 78aa


15014943
                                           -8-
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 9 of 19




                                        12

      Venue is proper in this Court.

                                Factual Allegaions

                             The Investment Offering

                                        13 .

      Beginning in the spring of 2001 and continuing into August 2004, Mobile

Billboards of America, inc . (``MBA") sold mobile billboard investments in various

states including North Carolina, Texas and Georgia .

                                         1 4.

      In 2002, MBA and its principals formed California Mobile Billboards . Inc

("CMBI") for the purpose of selling the billboard investments in California . The

California sales began in mid-2003 and continued into 2004

                                         15 .

      As a result of the sales activities promoted by MBA and CMBI, billboard

investments were sold to more than 1000 investors, many of whom were retirees

living on fixed incomes

                                         16 .

      As a part of the sales process, Defendants presented potential investors with

a disclosure document, referred to below as the "offering circular," purportedly




15014943
                                        -9-
      Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 10 of 19




designed to comply with the "business opportunity" regulations of the Federal

Trade Commission and various states

                                         17

      In sum, investors purchased a billboard "unit" for S20,000 and

simultaneously leased the billboards back to Outdoor Media Industries ("Outdoor

Media") for a seven-year term . Investors were told that Outdoor Media would

arrange for placement of the billboard on a truck, arrange for advertising and make

monthly lease payments to investors that provided a return of approximately

13 .49% per year Outdoor Media was affiliated with MBA and owned and

operated by the same people that owned and operated MBA

                                         18.

      As a part of the billboard purchase, MBA agreed to repurchase the billboard

at the end of the seven-year lease term for the full purchase puce . Investors were

told that MBA had established the Reserve Guaranty Trust ("RGT") to assure that

money would be available to fund this repurchase obligation and that a portion of

the purchase money paid by the investor was being deposited into RGT for this

purpose

                                         19

      Investors were told that MBA paid $5,000 of the initial purchase price to

RGT at the inception of the lease to create a sinking fund to support the buy-back .


15014943
                                        - 10-
      Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 11 of 19




                                              20.

      In consideration for t he pu rported S5,000 payment . RGT issued to the

investor a "Trust Secured Certificate" which entitled the investor to "an undivided

beneficial interest in the assets of RGT with a liquidation amount of up to [$210,000

times the number of billboards] purchased ."

                                              21

      RGT's trust assets were purportedly invested to generate profits to fund the

buy-back

                                              22

      While RGT was touted as being independent, it was controlled by the

officers of MBA

                                              23

      In truth, MBA's investment program operated as a Ponzi scheme, in that

Outdoor Media's mobile billboard business did not generate sufficient revenues to

make the mo nthly lease payments to the investors, but i n stead relied on new

investors' purchase monies to make the promised payments to earlier investors .

Using monies paid by recent investors, MBA transferred money to Outdoor Media

to fund t he lease paymen ts to i nvestors.




15014943
                                              -11-
      Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 12 of 19




                                          24

      Moreover, monies had not been deposited into RGT nor had RGT been

managed in accordance with the representations made to investors .

                                          25

      Throughout the course of the sales process, Defendants provided investors

with substantial amou nts of false information , includin~:

      a. There were operating billboards For example, the MBA offering

             circular in use by mid 2004, claimed that there were 3 .039 "operating

             mobile billboard Business Opportunities" as of March 31, 2004 . In

             fact, Mobile Billboards had fewer than 200 billboards operating

      b      Billboards were o perating in a manner sufficie nt to fund the lease

             monthly payments In fact, purchase monies paid by subsequent

             investors were funding those payments

      c. Money was being invested in RGT and RGT's investments were

             performing in a man ner sufficie nt to fund the repurchase ob liga tion .

             In fact, RGT was woefully under-funded and its few investments were

             losing money

      d The Property Trustee for RGT was independent In fact . the Property

             Trustee was taking direction from MBA's officers and directors .




15014943
                                         - 12 -
      Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 13 of 19




      e . No investor had ever cancelled or terminated the investment early . In

             fact, MBA had refunded several million dollars to investors who

             so ugh t an early termination of the bil lboard investment.

      f MBA was a substantial company . In fact, it was a shell corporation .

      g The mobile billboard investment was safe and secure In fact, it was a

             sham .

                                           26

      Throughout the course of the sales process, Defendants failed to provide

investors with substantial amounts of material information, including :

      a. The amount of the sales commission - i .e , 27% of the purchase price .

      b There were very few operating billboards and even fewer that were

             actually generating any revenue at all

      c . The actual cost of the billboard frame(s) being purchased for $20.000

             was less than $250 .

      d . MBA was actually controlling both the leasing company (i .e , Outdoor

             Media) and the trust (i .e ., RGT) .

                                           27 .

      Many, if not all, of the Defendants sold the billboard investments largely to

older and retired investors as a passive investment that would increase the income




15014943
                                          -13 -
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 14 of 19




the investors were receiving on money held in other investments, such as : mutual

funds, certificates of deposits, bonds, and retirement accounts .

                                           28.

      Many, if not all, of the Defendants persuaded investors to liquidate mutual

funds and other secure investments to invest in the billboard investments and to

transfer the investors' existing individual retirement accounts to a self-directed

IRA provider supplied by MBA or CMBI In fact, many, if not all, of the

Defendants provided investors with the forms necessary to establish self-directed

IRAs to hold the billboard investments .

                                           29

       Defendants knew, or were extremely reckless in not knowing, that the

MB AICMBI inves tme nt program functioned as a Po nzi scheme.

                                           30.

       The money used to pay the commissions and bonuses to the Defendants

constitutes ill-gotten gains from the fraudulent sales of unregistered securities to

unsuspecting investors Defendants have no legitimate claim to the commissions,

as the commissions were paid to them specifically for their role in the illegal sales

of the unregistered securities, as described herein




1501494 3
                                           -14-
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 15 of 19




                                     COUNTI

                                    (Accounting)

       The allegations of Paragraphs 1 through 30 are incorporated into this Count

as if fully set forth herein .

                                           31 .

       As of the date of the filing of this Complaint, the Receiver has performed

and continues to perform an investigation and analysis of the use of the proceeds of

the fraudulent investment offering, including the payment of commissions and

bonuses to the Defen dants.

                                           32

       As a part of his investigation and analysis, the Receiver has endeavored to

determine how much mo ney was actual ly pai d to eac h of the Defe ndan ts . B ased

upon the information currently available to him, the Receiver has made an initial

calculation and allocation of the amo unts paid to eac h Defendant .

                                           33

       The Receiver understands that the information available to him may be

incomplete. Accordingly, in or about March 2005, counsel for the Receiver sent a

letter to each of the Defendants (and others) asking for an accounting of the

amounts received as a result of sales of the MBA billboard investments and

d emanding the return of t hose monies .


15014943
                                           - li-
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 16 of 19




                                         34

       A few of those who received the letter described above compiled with the

request and provided an accounting and/or repayment of comunissions and

bonuses, however, most (including the Defendants in this action) did not

                                         35

       The Receiver is entitled to an accounting from each of the Defendants,

including the return of all movies received . directly or indirectly, from MBA .

                                         36

       The Receiver is entitled to recover prej udgment interest from each

Defendant from the date of the receipt of each payment of comnussion or bonus

                                     COUNT II

                       (U njus t Enrichment/Constructive Trust)

       The allegations of Paragraphs 1 through 36 are incorporated into this Count

as if fully set forth herein .

                                         37

       The commissions and bonuses paid to each of the Defendants are proceeds

that were unlawfully obtained from investors by means of artifice and fraud .

Accordingly, those proceeds, including the commissions and bonuses received by

each of the Defendants, are impressed with a constructive trust .




15014943
                                          16-
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 17 of 19




                                           38 .

       The Defendants have been unjustly enriched .

                                           39

       The Receiver is entitled to recover the commissions and bonuses paid to

each Defendant .

                                           40.

       The Receiver is entitled to recover prejudgment interest from each

Defendant from the date of the receipt of each payment of commission or bonus

                                       COUNT III

                                 (Fraudulent Conveyance)

       The allegations of Paragraphs 1 through 36 are incorporated into this Count

as if fully set forth herein .

                                           41

       The payments of commssslons and bonuses to each of the Defendants are

fraudulent conveyances .

                                           42.

       The Receiver is entitled to recover the commissions and bonuses paid to

each Defendant




15014943
                                          - 17 -
       Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 18 of 19




                                          43

      The Receiver is entitled to recover prejudgment interest from each

Defendant from the date of the receipt of each payment of commission or bonus



      WHEREFORE, S . Gregory Hays, Receiver, requests and demands the entry

of a judgment in his favor as follows :

       1 . On Count I, that each of the Defendants be required by this Court
              provide an accounting of all coiYUYUSSions and bonuses received as a
              result of the sale of subject billboard investments and, further,
              requiring that such amounts be disgorged and turned over to the
              Receiver, along with prejudgment interest .

      2 On Count II, that damages be awarded to the Receiver against each
            Defendant in an amount equal to all commissions and bonuses
            received, plus prejudgment interest

      3. On Count III, that damages be awarded to the Receiver against each
            Defendant in an amount equal to all commissions and bonuses
            received, plus preludgment interest .

      4 That the Court award such other and further relief as is deemed just
            equitable and proper .



       This 11 =day of October, 2005 .

                                                    TROUTMA SAN             RS LLP

                                                                i     ,-



                                                    J . VID     D ~
                                                            2AALE          R,
                                                      eorg ia Bar No . 20511.5
                                                    MATTHEW R CLARK
                                                    Georgia Bar N o 141401

1501494 3
                                          - i 8-
      Case 1:05-cv-02705-CAP Document 1 Filed 10/18/05 Page 19 of 19




                                               Attorneys for Receiver

Bank of America Plaza, Suite 5200
600 Peachtree Street . ME
Atlanta, GA 30308-2216
(404) 885-3000 (voice)
(404) 885-3900 (facsirrule)




1501494 3
                                     19 -
